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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


IN RE PAYCHECK PROTECTION PROGRAM
                                                          MDL DOCKET NO. 2950
(PPP) AGENT FEE LITIGATION



                                     PROOF OF SERVICE

      I hereby certify that on July 6, 2020, a copy of the foregoing Notice of Presentation or

Wavier of Oral Argument was served via CM/ECF transmission, via email, or via U.S. Mail to

all parties and/or counsel in involved actions as detailed below.


  James Quinn, et al. v. JPMorgan Chase Bank, N.A., d/b/a Chase Bank et al., 1:20-cv-04100-
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 (Via Mail)
 Intuit Financing Inc.
 C/O Corporation Service Company
 1703 Laurel Street
 Columbia, SC 29201
 (Via Mail)




DATED: July 6, 2020                   s/ Richard D. McCune
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